            Case 2:24-cv-03342-AYS Document 4 Filed 05/07/24 Page 1 of 4 PageID #: 65

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                         for the
                                                         Eastern District of New York


                   CYNTHIA CAMERON,                                        )
                                                                           )
                                                                           )
                                                                           )
                            Plaintiff(s)                                   )
                                                                           )
                                v.                                                 Civil Action No. 2:24-cv-03342-AYS
                                                                           )
ISLAND PARK UNION FREE SCHOOL DISTRICT,                                    )
VINCENT RANDAZZO, JACOB RUSSUM,                                            )
and ALLISON OFFERMAN-CELENTANO                                             )
(in their individual capacities pursuant to NYEL §§290 et seq.),           )
                            Defendant(s)                                   )

                                                     SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Island Park Union Free School District
                                           99 Radcliffe Road
                                           Island Park, New York 11558




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you


-
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Scott Michael Mishkin, P.C.
                                           One Suffolk Square, Suite 240
                                           Islandia, New York 11749




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

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                                                                                     CLERK OF COURT


Date:    5/7/2024
                                                                                               Signa ure of Clerk or Deputy Clerk
                                                                                               Signature
            Case 2:24-cv-03342-AYS Document 4 Filed 05/07/24 Page 2 of 4 PageID #: 66

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                         for the
                                                         Eastern District of New York


                   CYNTHIA CAMERON,                                        )
                                                                           )
                                                                           )
                                                                           )
                            Plaintiff(s)                                   )
                                                                           )
                                v.                                                 Civil Action No. 2:24-cv-03342-AYS
                                                                           )
ISLAND PARK UNION FREE SCHOOL DISTRICT,                                    )
VINCENT RANDAZZO, JACOB RUSSUM,                                            )
and ALLISON OFFERMAN-CELENTANO                                             )
(in their individual capacities pursuant to NYEL §§290 et seq.),           )
                            Defendant(s)                                   )

                                                      SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Vincent Randazzo
                                           99 Radcliffe Road
                                           Island Park, New York 11558




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you


-
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Scott Michael Mishkin, P.C.
                                           One Suffolk Square, Suite 240
                                           Islandia, New York 11749




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

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                                                                                     CLERK OF COURT


Date:    5/7/2024
                                                                                               Signa ure of Clerk or Deputy Clerk
                                                                                               Signature
            Case 2:24-cv-03342-AYS Document 4 Filed 05/07/24 Page 3 of 4 PageID #: 67

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                     for the
                                                       Eastern District of New York


                   CYNTHIA CAMERON,                                    )
                                                                       )
                                                                       )
                                                                       )
                            Plaintiff(s)                               )
                                                                       )
                                v.                                             Civil Action No. 2:24-cv-03342-AYS
                                                                       )
ISLAND PARK UNION FREE SCHOOL DISTRICT,                                )
VINCENT RANDAZZO, JACOB RUSSUM,                                        )
and ALLISON OFFERMAN-CELENTANO                                         )
(in their individual capacities pursuant to NYEL §§290 et seq.),       )
                            Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Jacob Russum
                                       99 Radcliffe Road
                                       Island Park, New York 11558




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you


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are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Scott Michael Mishkin, P.C.
                                           One Suffolk Square, Suite 240
                                           Islandia, New York 11749




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

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                                                                                 CLERK OF COURT


Date:    5/7/2024
                                                                                           Signa ure of Clerk or Deputy Clerk
                                                                                           Signature
            Case 2:24-cv-03342-AYS Document 4 Filed 05/07/24 Page 4 of 4 PageID #: 68

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                         for the
                                                         Eastern District of New York

                                                                           )
                CYNTHIA CAMERON,                                           )
                                                                           )
                                                                           )
                            Plaintiff(s)                                   )
                                                                           )
                                v.                                                 Civil Action No. 2:24-cv-03342-AYS
                                                                           )
ISLAND PARK UNION FREE SCHOOL DISTRICT,                                    )
VINCENT RANDAZZO, JACOB RUSSUM,                                            )
and ALLISON OFFERMAN-CELENTANO                                             )
(in their individual capacities pursuant to NYEL §§290 et seq.),           )
                            Defendant(s)                                   )

                                                     SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Allison Offerman-Celentano
                                           99 Radcliffe Road
                                           Island Park, New York 11558




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you


-
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Scott Michael Mishkin, P.C.
                                           One Suffolk Square, Suite 240
                                           Islandia, New York 11749



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                                     #3&//" # .")0/&:
                                                                                     CLERK OF COURT


Date: 5/7/2024
                                                                                              Signature of Clerk or Deputy Clerk
